MACKINTOSH-HEMPHILL CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Mackintosh-Hemphill Co. v. CommissionerDocket No. 20640.United States Board of Tax Appeals21 B.T.A. 1259; 1931 BTA LEXIS 2218; January 20, 1931, Promulgated *2218 H. V. Baxter, Esq., for the petitioner.  W. L. Wattles, Esq., for the respondent.  TRAMMELL*1259  This is a proceeding under section 280 for the redetermination of the liability of the petitioner as transferee on account of the tax liability of the Pittsburgh Iron &amp; Steel Foundries Co. for 1917 and 1918 in the amount of $88,869.81 and $33,047.44, respectively.  The proceeding has been limited to the question of the statute of limitations.  The facts were stipulated as follows: FINDINGS OF FACT.  (1) The deficiencies proposed are based on the alleged liability of the petitioner under section 280 of the Revenue Act of 1926, as transferee of the assets of the Pittsburgh Iron &amp; Steel Foundries Co., a Pennsylvania corporation, and are for additional income and profits taxes claimed to be due from said company as follows: Pittsburgh Iron &amp; Steel Foundries Co., 1917$88,869.81191833,047.44(2) The income and profits tax returns of the Pittsburgh Iron &amp; Steel Foundries Co. for the years 1917 and 1918 were filed as follows: For 1917, April 30, 1918.  For 1918, June 16, 1919.  (3) Assessments of the additional taxes claimed to*2219  be due from the Pittsburgh Iron &amp; Steel Foundries Co. were made as follows: Pittsburgh Iron &amp; Steel Foundries Co., 1917- $88,869.81, March 23, 1923 1918- 33,047.44, March 4, 1924 (4) No suit or proceeding for collection of said additional taxes for the year 1917 was begun against the Pittsburgh Iron &amp; Steel Foundries Co. prior to the expiration of five years from April 30, 1918, and no suit or proceeding for the collection of said additional taxes for the year 1918 was begun against the Pittsburgh Iron &amp; Steel Foundries Co. prior to the expiration of five years from June 16, 1919.  (5) By a letter dated and mailed August 20, 1926 - the same being a notice of deficiency under section 280 of the Revenue Act of 1926 - Mackintosh-Hemphill Co., petitioner herein, was advised by the Commissioner of Internal Revenue that there was proposed for *1260  assessment against the Mackintosh-Hemphill Co. the amount of $121,917.25 constituting the liability of Mackintosh-Hemphill Co. as a transferee of the Pittsburgh Iron &amp; Steel Foundries Co. for unpaid income and profits taxes assessed against the Pittsburgh Iron &amp; Steel Foundries Co. for the years 1917 and 1918 in the amounts of $88,869.81*2220  and $33,047.44, respectively.  Petitioner filed its appeal from said proposed assessments in the United States Board of Tax Appeals on October 18, 1926, and in its pleadings before said Board have raised the question of the bar of the statute of limitations.  OPINION.  TRAMMELL: Under the stipulated facts the statute of limitations had barred the collection of the taxes in controversy from the transferor prior to the mailing of the notice under section 280 of the liability at law or in equity of the petitioner transferee.  The collection of the liability of the transferor was barred prior to the passage of the Revenue Act of 1926.  We have heretofore held that, where the liability against a transferor is barred by the statute of limitations prior to the passage of the Revenue Act of 1926, section 280(b)(2) of that Act does not operate to revive the remedy against the transferee.  ; . We therefore hold that the statute of limitations now bars the assessment and collection of any liability against the petitioner as transferee.  Judgment will be entered for the petitioner.